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Nicole Collins

From:                              Lawrence-Hammer, Lesley (ENRD) <Lesley.Lawrence-Hammer@usdoj.gov>
Sent:                              Monday, January 10, 2022 11:20 AM
To:                                BJ Chisholm; Dan Fuchs; Tracy Winsor; Colleen Flannery; Glen Spain; Nicole Collins; Hal
                                   Candee
Cc:                                McDonald, Evelyn (ENRD); Stevens, Clifford (ENRD); Smith, Nicole M. (ENRD)
Subject:                           RE: PCFFA CNRA v. Raimondo - hearing dates



Hi BJ,
  s you know, the request to identify alternative hearing dates (including, specifically, Feb. 10 or 11) was made
by the Court, and our email below was meant to address the specific considerations and dates the Court
identified for us. The Court said it would be “exceedingly difficult” for it to be “fully prepared for the hearing”
if the hearing occurs before February 1. The Court also said “[d]elaying the hearing will obviously have
consequences for the timing of any ruling, although usually the more time the court has to prepare the faster
a ruling can issue.” Given these statements, the Court’s crowded schedule, and its specific identification of
February 10 or 11 as possible alternatives, we think it makes the most sense to make ourselves available on
those dates, as we explained below. Regarding your specific questions, Reclamation will make its initial
allocations in mid-February, pursuant to its various contracts. lso, Reclamation and DWR anticipate that a
TUCP for February will not be needed, as presented to the SWRCB, and anticipate a final determination on the
status of the February request on January 19. Regarding your modeling question, we do not yet know the
specific date that modeling of the IOP will be ready and available to share with all the parties, but we are
discussing that issue with our clients and will report back as soon as we are able.

Lesley

From: BJ Chisholm <bchisholm@altshulerberzon.com>
Sent: Friday, January 7, 2022 11:50 M
To: Lawrence-Hammer, Lesley (ENRD) <Lesley.Lawrence-Hammer@usdoj.gov>; Dan Fuchs <Daniel.Fuchs@doj.ca.gov>;
Tracy Winsor <Tracy.Winsor@doj.ca.gov>; Colleen Flannery <Colleen.Flannery@doj.ca.gov>; Glen Spain
<fish1ifr@aol.com>; Nicole Collins <ncollins@altshulerberzon.com>; Hal Candee <hcandee@altshulerberzon.com>
Cc: McDonald, Evelyn (ENRD) <Evelyn.Mcdonald@usdoj.gov>; Stevens, Clifford (ENRD) <Clifford.Stevens@usdoj.gov>;
Smith, Nicole M. (ENRD) <Nicole.M.Smith@usdoj.gov>
Subject: [EXTERN L] RE: PCFF & CNR v. Raimondo - hearing dates

Lesley, thank you for starting the conversation about alternate hearing dates. s you know, PCFF plaintiffs are
concerned that key decisions for water year 2022 are coming up quickly. We are willing to consider pushing out the
hearing until February 11, but would like clarification on a few points:

        Does Reclamation plan to announce initial CVP allocations, including allocations for its settlement and exchange
         contractors, in mid-February, or will it wait until a decision is made by the Court on the pending motions?
        When will Federal Defendants be able to share the C LSIM modeling of the IOP?
        Given current conditions, does Reclamation intend to comply with D-1641 requirements in February and to
         withdraw the TUCP for that month, as was suggested by its recent presentation to the SWRCB?

Best,
BJ


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From: Lawrence-Hammer, Lesley (ENRD) <Lesley.Lawrence-Hammer@usdoj.gov>
Sent: Thursday, January 6, 2022 1:02 PM
To: BJ Chisholm <bchisholm@altshulerberzon.com>; ndy Hitchings <ahitchings@somachlaw.com>; Jennifer Buckman
<jtb@bkslawfirm.com>; mnikkel <mnikkel@downeybrand.com>; Dan Fuchs <Daniel.Fuchs@doj.ca.gov>; Jenna R.
Mandell-Rice <jrm@vnf.com>; Kmr@rbgmlaw.com; Mbruner@perkinscoie.com; Dohanlon@kmtg.com; Sophia E.
 mberson <S mberson@vnf.com>; tim@olaughlinplc.com; Woodman, Derek <Derek.Woodman@wilmerhale.com>;
Brittany Johnson <bjohnson@somachlaw.com>; Matthew dams <madams@kaplankirsch.com>; Jacobson, Rachel
<Rachel.Jacobson@wilmerhale.com>; Castanos, Kristen T. <kristen.castanos@stoel.com>; Ewens, Elizabeth P.
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<Colleen.Flannery@doj.ca.gov>; Glen Spain <fish1ifr@aol.com>; Nicole Collins <ncollins@altshulerberzon.com>; Hal
Candee <hcandee@altshulerberzon.com>; Tim Wasiewski <tw@pariskincaid.com>
Cc: McDonald, Evelyn (ENRD) <Evelyn.Mcdonald@usdoj.gov>; Stevens, Clifford (ENRD) <Clifford.Stevens@usdoj.gov>;
Smith, Nicole M. (ENRD) <Nicole.M.Smith@usdoj.gov>
Subject: PCFF & CNR v. Raimondo - hearing dates

Hi everyone,
Per the Court’s email on Tuesday, we are writing to meet-and-confer regarding alternatives to February 1 for a
hearing date on the pending motions. When we noticed our motion for February 1, it was intended as the
bare minimum amount of time we would need to prepare for a hearing following the filings to be made on
January 24. We also have various scheduling conflicts that would make holding a hearing before February 1
very difficult. Per the Court’s email, we think it would be most prudent to give the Court and the parties
sufficient time to prepare for the hearing. Therefore, we suggest the parties make themselves available for a
hearing on February 10 or 11, since those days appear to work best for the Court. Please let the group know
your clients’ position on this. Thank you.

Lesley Lawrence-Hammer
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Wildlife & Marine Resources Section
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Denver, CO 80202
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